
PER CURIAM.
By petition for a writ of certiorari we are requested to review a decision of the Court of Appeal, Second District, because of an alleged conflict on the same point of law with the decision of another Court of Appeal. Sheneman et al. v. City of Fort Lauderdale, 156 So.2d 415.
The District Court here affirmed the trial judge on the authority of the opinion of the Court of Appeal, First District, in Middleton v. City of Fort Walton Beach, 113 So.2d 431, and other cases. The petitioner alleges that this decision collides with the decision of the Third District Court of Appeal in Simpson v. City of Miami et al., 155 So.2d 829.
We find that the decision of the First District in Middleton is in direct conflict with the decision of the Third District in Simpson. Inasmuch as the Second District in the instant case relies upon Middleton, we hold that this decision, therefore, generates a jurisdictional conflict with the decision of the Third District in Simpson.
By our opinion in City of Miami v. Simpson, 172 So.2d 435, filed 17th of February, 1965, we have approved the decision of the *460Third District in Simpson v. Miami, 155 So.2d 829. In view of our decision there, repetition here would he superfluous.
The writ is granted. The decision under review is quashed and the cause is remanded to the Court of Appeal, Second District, for disposition in accordance with the views expressed by us in City of Miami v. Simpson, supra.
It is so ordered.
DREW, C. J., and. THOMAS, ROBERTS, THORNAL, O’CONNELL and ERVIN, JJ., concur.
